              Case 8:22-cv-01434-DOC-ADS Document 13 Filed 10/03/22 Page 1 of 2 Page ID #:41



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                     8
                     9                             UNITED STATES DISTRICT COURT
                    10                            CENTRAL DISTRICT OF CALIFORNIA
                    11
                    12   ANNETTE CODY, individually and on           Case No. 22-CV-01434-DOC-ADS
                         behalf of all others similarly situated,
                    13                                               CLASS ACTION
                                             Plaintiff,
                    14                                               DEFENDANT’S NOTICE OF
                         v.                                          MOTION AND MOTION TO
                    15                                               DISMISS PLAINTIFF’S
                         BOSCOV’S, INC.,                             COMPLAINT
                    16
                                             Defendant.
                    17
                                                                     Date:            November 7, 2022
                    18                                               Time:            8:30 a.m.
                                                                     Judge:           Hon. David O. Carter
                    19                                               Courtroom:       10A
                    20                                               Memorandum of Points and Authorities
                                                                     filed concurrently
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A RENT F OX LLP
                         Case No. 8:22-cv-01434-DOC-ADS
ATTO RNEY S AT LAW
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                                                                    -1-   NOTICE OF MOTION AND MOTION TO DISMISS

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              Case 8:22-cv-01434-DOC-ADS Document 13 Filed 10/03/22 Page 2 of 2 Page ID #:42



                     1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                     2            PLEASE TAKE NOTICE THAT on November 7, 2022, at 8:30 a.m., or as
                     3   soon thereafter as the matter may be heard before the Honorable David O. Carter, in
                     4   Courtroom 10A of the above-entitled Court, located at 411 W. Fourth Street, Santa
                     5   Ana, CA 92701, Defendant Boscov’s, Inc. will move for an Order dismissing
                     6   Plaintiff’s First Amended Class Action Complaint, pursuant to Fed. R. Civ. P.
                     7   12(b)(6).
                     8            Defendant seeks dismissal because (1) Boscov’s cannot “intercept” messages
                     9   as a party to the communication, (2) Plaintiff has not plausibly alleged that any
                    10   interception actually occurred that would implicate Section 631 when she
                    11   purportedly used the chat feature on Boscov’s website, and (3) as for her new claim
                    12   under Section 632.7, it is facially inapplicable to communications with websites. For
                    13   these reasons, the Complaint fails to state any claim upon which relief may be
                    14   granted. This Motion will be based on this Notice, the attached Memorandum of
                    15   Points and Authorities, the files and records in this action, arguments of counsel, and
                    16   upon such other further matter adduced at the hearing, or of which the Court takes
                    17   judicial notice. This Motion is made following conference of counsel pursuant to L.
                    18   R. 7-3, which took place by telephone on September 13, 2022, and subsequently by
                    19   email.
                    20
                    21   Dated: October 3, 2022                      ARENTFOX SCHIFF LLP
                    22
                    23                                           By:__ ____________________________
                                                                   JOHN S. PURCELL
                    24                                             LYNN R. FIORENTINO
                                                                   DOUGLAS E. HEWLETT, JR.
                    25                                             Attorneys for Boscov’s, Inc.
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A RENT F OX LLP
                         Case No. 8:22-cv-01434-DOC-ADS
ATTO RNEY S AT LAW
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                                                                  -2-      NOTICE OF MOTION AND MOTION TO DISMISS

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